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        EXHIBIT K
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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                              Rev. V4


    Features                                                                                         Functional Schematic
     High Gain: 14 dB @ 12 V                                                                              5                                           6          7
     P1dB: 28 dBm @ 12 V                                                                                AUX                                         DET        N/C
     P3dB: 30.5 dBm @ 12 V
     Output IP3: +38 dBm @ 12 V
     Supply Voltage: VDD = 9 - 12 V
     Supply Current: IDSQ = 400 mA                                                                 4    N/C                                                                RFOUT/
                                                                                                                                                                                       8
                                                                                                                                                                             VDD
     50 Ω Matched Input / Output
     Temperature Compensated Output Power                                                                                                                                       GND   9

      Detector                                                                                      3    N/C
     Die Size: 2.99 x 1.5 x 0.1 mm
     RoHS* Compliant
                                                                                                    2   GND
    Description
                                                                                                    1    RFIN
    The MAAP-011248-DIE is a 1 W distributed power
    amplifier offered as a bare die part. Operating from                                           11   GND
                                                                                                                                                                                 VG1
    DC to 22 GHz, this power amplifier provides 14 dB                                                                                                                             10
    of linear gain and 30.5 dBm of output power at 3-dB
    compression. The device is fully matched across the
    band and includes a temperature compensated
    output power detector.
                                                                                                     Pin Configuration2
                                                                                                        Pin No.         Pin Name                           Description
    The MAAP-011248-DIE can                             be used as a power
    amplifier stage or as a driver                      stage in higher power                               1               RFIN                            RF Input
    applications. This device is                        ideally suited for test
    and measurement, EW,                                  ECM, and radar                                    2               GND                              Ground
    applications.                                                                                         3, 4               N/C                       No Connection

    This product is fabricated using a GaAs pHEMT                                                           5               AUX                             Auxiliary
    process which features full passivation for enhanced
    reliability.                                                                                            6               DET                       Power Detector

                                                                                                            7                N/C                       No Connection

                                                                                                            8           RFOUT/VDD              RF Output / Drain Voltage

    Ordering Information                                                                                    9               GND                              Ground

               Part Number                                  Package                                        10                VG1                        Gate Voltage

           MAAP-011248-DIE                                  Gel Pack1                                      11               GND                              Ground

    1. Die quantity varies.                                                                          2. Backside of die must be connected to RF, DC and thermal
                                                                                                        ground.




     *Restrictions on Hazardous Substances, European Union Directive 2011/65/EU.
1

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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                              Rev. V4


    Electrical Specifications: TA = +25°C, VDD = 12 V, IDSQ3 = 400 mA, Z0 = 50 Ω

                  Parameter                                           Test Conditions                                 Units           Min.                Typ.              Max.

                                                                           2 GHz                                                       —                 13.0
                                                                           12 GHz                                                     11.5               13.5
                       Gain                                                                                             dB                                                       —
                                                                           18 GHz                                                      —                 14.0
                                                                           22 GHz                                                     11.5               14.5
                                                                      PIN = +20 dBm
                                                                          2 GHz                                                        —                 32.0
                       POUT                                               12 GHz                                      dBm             29.5               30.9                    —
                                                                          18 GHz                                                       —                 30.5
                                                                          22 GHz                                                      29.0               30.5
                                                                           2 GHz                                                                         30.5
                                                                           12 GHz                                                                        29.0
                      P1dB                                                                                            dBm               —                                        —
                                                                           18 GHz                                                                        28.0
                                                                           22 GHz                                                                        27.5
                                                   POUT = +14 dBm/tone (10 MHz Tone Spacing)
                                                                     2 GHz                                                                               41.0
                      OIP3                                          12 GHz                                            dBm               —                38.0                    —
                                                                    18 GHz                                                                               38.0
                                                                    22 GHz                                                                               41.0
                                                                      PIN = +20 dBm
                                                                          2 GHz                                                                          20.0
                       PAE                                                12 GHz                                        %               —                18.0                    —
                                                                          18 GHz                                                                         17.5
                                                                          22 GHz                                                                         13.4

             Input Return Loss                                         PIN = -20 dBm                                    dB              —                  15                    —

           Output Return Loss                                          PIN = -20 dBm                                    dB              —                  15                    —

            IDD (with RF drive)                                       PIN = +20 dBm                                    mA               —                 500                    —

                        IG1                                                    —                                       mA               —                   8                    —

    3. Set IDSQ according to bias procedures in page 4.




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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                              Rev. V4

    Electrical Specifications: TA = +25°C, VDD = 10 V, IDSQ3 = 400 mA, Z0 = 50 Ω
                  Parameter                                          Test Conditions                                  Units           Min.               Typ.               Max.

                                                                           2 GHz                                                                         13.0
                                                                           12 GHz                                                                        13.5
                      Gain                                                                                              dB              —                                        —
                                                                           18 GHz                                                                        14.0
                                                                           22 GHz                                                                        14.5
                                                                      PIN = +18 dBm
                                                                          2 GHz                                                                          29.0
                       POUT                                               12 GHz                                      dBm               —                29.0                    —
                                                                          18 GHz                                                                         29.0
                                                                          22 GHz                                                                         28.0
                                                                           2 GHz                                                                         28.0
                                                                           12 GHz                                                                        28.0
                      P1dB                                                                                            dBm               —                                        —
                                                                           18 GHz                                                                        26.5
                                                                           22 GHz                                                                        25.5
                                                  POUT = +14 dBm/tone (10 MHz Tone Spacing)
                                                                    2 GHz                                                                                45.0
                      OIP3                                         12 GHz                                             dBm               —                41.5                    —
                                                                   18 GHz                                                                                47.0
                                                                   22 GHz                                                                                40.0
                                                                      PIN = +18 dBm
                                                                          2 GHz                                                                          18.5
                       PAE                                                12 GHz                                        %               —                17.0                    —
                                                                          18 GHz                                                                         16.0
                                                                          22 GHz                                                                         12.5
            Input Return Loss                                          PIN = -20 dBm                                    dB              —                  15                    —

           Output Return Loss                                          PIN = -20 dBm                                    dB              —                  15                    —
            IDD (with RF drive)                                       PIN = +18 dBm                                    mA               —                 450                    —
                        IG1                                                    —                                       mA               —                   8                    —




    Maximum Operating Ratings                                                                        Absolute Maximum Ratings6,7
                 Parameter                                    Rating                                              Parameter                          Absolute Maximum
                                                        20 dBm (VDD = 12 V)                                      Input Power                                    28 dBm
                Input Power
                                                        18 dBm (VDD = 10 V)
                                                                                                                Drain Voltage                                    +16 V
       Junction Temperature4,5                                +150°C
                                                                                                                Gate Voltage                                    -5 to 0 V
        Operating Temperature                             -40°C to +85°C
                                                                                                          Junction Temperature8                                 +175°C
    4. Operating at nominal conditions with junction temperature
       ≤ +150°C will ensure MTTF > 1 x 106 hours.                                                          Storage Temperature                          -65°C to +125°C
    5. Junction Temperature (TJ) = TC + ӨJC * ((V * I) - (POUT - PIN))                               6. Exceeding any one or combination of these limits may cause
       Typical thermal resistance (ӨJC) = 6.5°C/W.                                                      permanent damage to this device.
       a) For TC = +85°C,                                                                            7. MACOM does not recommend sustained operation near these
       TJ = +117°C @ 12 V, 0.48 A, POUT = 30 dBm, PIN = 20 dBm                                          survivability limits.
                                                                                                     8. Junction temperature directly effects device MTTF. Junction
                                                                                                        temperature should be kept as low as possible to maximize
3                                                                                                       lifetime.

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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                                Rev. V4


    Application Schematic
                                                                                                       Handling Procedures
                              AUX                DET
                         C1                                                         VDD
                                                                                                       Please observe the following precautions to avoid
                                                                                                       damage:
                  AUX                            DET     N/C

                                                                                                       Static Sensitivity
                  N/C                                                RFOUT/                   RFOUT    These electronic devices are sensitive to
                                                                      VDD
                                                                      GND
                                                                                                       electrostatic discharge (ESD) and can be damaged
                  N/C
                                                                                   External
                                                                                   Bias-T
                                                                                                       by static electricity. Proper ESD control techniques
                                                                                                       should be used when handling these HBM Class 1A
                                                                                                       devices.
    RFIN        GND
                  RFIN
                GND
                                                                       VG1                             Recommended PCB Information
                                                                                                       RF input and output are 50 Ω transmission lines.
                                                                              C2
                                                               VG1                                     Single layer 4 mil Rogers RO4350B with 1/2 oz. Cu.
                                                                                                       Use copper filled vias under ground paddle.
    Bill of Materials9,10,11
                                                                                                       Grounding
           Part                Value              Size                  Comment                        It is recommended that the total ground (common
                                                                                                       mode) inductance not exceed 0.03 nH (30 pH). This
       C1, C2                  1 µF              0402                         bypass                   is equivalent to placing at least four 8-mil (200-μm)
                                                                                                       diameter vias under the device, assuming an 8-mil
    9. C1 & C2 are required for operation below 1 GHz.
    10. High power external bias tee was used for measurements.                                        (200-μm) thick RF layer to ground.
    11. External DC block was used on input.




    Biasing Conditions                                                                                 Operating the MAAP-011248
    Recommended biasing conditions are VDD = 12 V,                                                     Turn-on
    IDSQ = 400 mA (controlled with VG1).                                                                            1. Apply VG1 (-4.5 V).
                                                                                                                    2. Increase VDD to 12 V.
    VDD Bias must be applied through a resonant free                                                                3. Set IDSQ by adjusting VG1 more positive
    high inductance on the RF output line.                                                                             (typically -3.6 V for IDSQ = 400 mA).
                                                                                                                    4. Apply RFIN signal.
    By-pass capacitor C1 for the auxiliary pad is for a
    low frequency operation extension (below 1 GHz).                                                   Turn-off
                                                                                                                    1. Remove RFIN signal.
                                                                                                                    2. Decrease VG1 to -4.5 V.
                                                                                                                    3. Decrease VDD to 0 V.




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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                              Rev. V4


    PCB Layout:
    RF input and output port pre-matching circuit patterns are designed to compensate bonding wires. Input and
    output matching are identical.


                                             250                                           3500
                                            200
                          250
                         200
                        210




                                                                                   AUX                DET




                                                                                                                                                              3000
                                                                                                     RFOUT


                                                                                    RFIN
                                                                                                        VG1




                                                                        All units are in microns.




                               Input Match                                                                                        Output Match
5

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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                                               Rev. V4

    Typical Performance Curves VDD = 10 V, IDSQ = 400 mA, VG1 = -3.6 V typical
      S Parameters                                                                                                     Gain
                         30                                                                                                               20


                         20
                                                                                                                                          15
    S21, S11, S22 (dB)




                         10




                                                                                                                     S21 (dB)
                                                                                    S21
                                                                                    S11
                          0                                                         S22                                                   10


                         -10
                                                                                                                                                                                      +25°C
                                                                                                                                           5                                          -40°C
                                                                                                                                                                                      +85°C
                         -20


                         -30                                                                                                               0
                               0           5             10            15            20            25                                           0   5     10            15            20           25
                                                      Frequency (GHz)                                                                                   Frequency (GHz)

     Input Return Loss                                                                                                Output Return Loss
                          0                                                                                                                0

                                                                                                                                                                                           +25°C
                          -5                                                              +25°C                                            -5                                              -40°C
                                                                                          -40°C                                                                                            +85°C
                                                                                          +85°C

                         -10                                                                                                              -10
    S11 (dB)




                                                                                                                     S22 (dB)




                         -15                                                                                                              -15


                         -20                                                                                                              -20


                         -25                                                                                                              -25


                         -30                                                                                                              -30
                               0           5             10            15            20            25                                           0   5     10            15            20           25
                                                      Frequency (GHz)                                                                                   Frequency (GHz)

     Isolation                                                                                                       S Parameters @ Low Frequency
                          0                                                                                                               30

                                                                                       +25°C
                                                                                       -40°C                                              20
                         -20                                                           +85°C
                                                                                                                     S21, S11, S22 (dB)




                                                                                                                                          10
    S12 (dB)




                                                                                                                                                                                     S21
                                                                                                                                                                                     S11
                         -40                                                                                                               0                                         S22


                                                                                                                                          -10
                         -60
                                                                                                                                          -20


                         -80                                                                                                              -30
                               0           5             10            15            20            25                                           0   2      4             6             8           10
                                                      Frequency (GHz)                                                                                   Frequency (MHz)
6

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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                                             Rev. V4

    Typical Performance Curves VDD = 10 V, IDSQ = 400 mA, VG1 = -3.6 V typical
     Noise Figure                                                                                                   Output IP3 vs. POUT / Tone
                        10                                                                                                      60


                         8
                                                                                                                                50
    Noise Figure (dB)




                                                                                                                   OIP3 (dBm)
                         6
                                                                                                                                40
                         4

                                                                                                                                30
                         2                                                                                                                     2 GHz
                                                                                                                                               12 GHz
                                                                                                                                               22 GHz

                         0                                                                                                      20
                             0           5             10            15            20            25                                  10   12       14   16     18       20       22        24    26
                                                    Frequency (GHz)                                                                                Output Power (dBm) / Tone

    P1dB over Temperature                                                                                          P3dB over Temperature
                        40                                                                                                      40

                                                                                     +25°C                                                                                             +25°C
                                                                                     -40°C                                                                                             -40°C
                        35                                                           +85°C                                      35                                                     +85°C
    P1dB (dBm)




                                                                                                                   P3dB (dBm)




                        30                                                                                                      30



                        25                                                                                                      25



                        20                                                                                                      20
                             0           5             10            15            20            25                                  0         5         10           15              20          25
                                                    Frequency (GHz)                                                                                     Frequency (GHz)

     P1dB over Voltage                                                                                             P3dB over Voltage
                        40                                                                                                      40


                                                                                     10 V                                                                                              10 V

                        35                                                           12 V                                       35                                                     12 V
                                                                                                                   P3dB (dBm)
    P1dB (dBm)




                        30                                                                                                      30



                        25                                                                                                      25



                        20                                                                                                      20
                             0           5             10            15            20            25                                  0         5         10            15             20          25
                                                    Frequency (GHz)                                                                                     Frequency (GHz)
7

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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                                                             Rev. V4

    Typical Performance Curves VDD = 10 V, IDSQ = 400 mA, VG1 = -3.6 V typical
      2nd Harmonic                                                                                                               Power Compression @ 2 GHz
                                      0                                                                                                                           35




                                                                                                                                 POUT (dBm), Gain (dB), PAE (%)
                                                      14 dBm
                                                                                                                                                                           Pout
                                     -10
                                                      18 dBm                                                                                                      30       Gain
                                                      22 dBm
                                                                                                                                                                           PAE
     2nd Harmonic (dBc)




                                                                                                                                                                  25
                                     -20
                                                                                                                                                                  20
                                     -30
                                                                                                                                                                  15
                                     -40
                                                                                                                                                                  10

                                     -50                                                                                                                           5

                                     -60                                                                                                                           0
                                           0           5              10           15            20            25                                                      0   5        10        15      20         25
                                                                    Frequency (GHz)                                                                                               Input Power (dBm)

       Power Compression @ 12 GHz                                                                                                 Power Compression @ 22 GHz
                                     35                                                                                                                           35
    POUT (dBm), Gain (dB), PAE (%)




                                                                                                                                 POUT (dBm), Gain (dB), PAE (%)



                                                        Pout                                                                                                               Pout
                                     30                 Gain
                                                                                                                                                                  30       Gain
                                                        PAE                                                                                                                PAE
                                     25                                                                                                                           25

                                     20                                                                                                                           20

                                     15                                                                                                                           15

                                     10                                                                                                                           10

                                      5                                                                                                                            5

                                      0                                                                                                                            0
                                           0           5              10           15            20            25                                                      0   5        10        15      20         25
                                                                    Input Power (dBm)                                                                                             Input Power (dBm)

       Current
                                     1.0

                                                           2 GHz
                                                           12 GHz
                                     0.8                   22 GHz
    Current (mA)




                                     0.6


                                     0.4


                                     0.2


                                     0.0
                                           0           5              10           15            20            25
                                                                    Input Power (dBm)
8

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    MAAP-011248-DIE
    Power Amplifier, 1 W
    DC - 22 GHz                                                                                                                                                              Rev. V4


    MMIC Die Outline12,13




    12. All units in µm, unless otherwise noted, with a tolerance of ±5 µm.
    13. Die thickness is 100 ±10 µm.




    Bond Pad Detail
                                          Size (x)                  Size (y)
               Pad
                                           (µm)                      (µm)
                1, 8                          81                       141

             2, 9, 11                         81                        91

         3, 4, 5, 6, 10                       93                        93

                 7                           118                        93




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     MAAP-011248-DIE
     Power Amplifier, 1 W
     DC - 22 GHz                                                                                                                                                              Rev. V4




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